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                        Exhibit A
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                                                                                                            I   I




                                                          USA                & Maintenance
                                                          2012 Audi ModeLs




USA Warranty & Maintenanc@
2012 Audi Models
Englisch USA        05.2011
122.S63.BMW.23




1111111111111111111111111111111111111                                                               Audi
        1225638MW23                     wlNW.audi.com                             Vorsprung durch Technik
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                                                                                                                                                                                    I   I




Warranty Voucher
for your new Audi automobile.                     Warranty terms and conditions covering your
                                                  Audi are printed in the Warranty sec:tion of
Present this voucher to an authorized Audi
                                                  th is booklet.
dealer ifwarr<3nty service is required


 Vehicle Identification
          No


  Type I Engine Out-
  put / Transmission
 Code I Month & Year
    of Manufacture



 Engine (ode f Engine
          No.

  PJint No.! Interior




 Optional Equipment




Warranty begins on the month of first use of
the vehicle or its delivery to the first retail
 purchaser, namely on



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                                                                                                 Texts and specifications In this manual are       Editorial deadline: 03/31/2011
                                                                                                 based on Information and knowledge avaiLa-
    Month               Day          Year               Authorized Audi Dealer Stamp
                                                                                                 ble at the time of printing. Specifications are
                                                                                                 subject to change without notice
                                                                                                 f\1ay not be reproduced or translated in whole
                                                                                                 or in part without consent of AUDI AG
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       2   WeLcome to Audi


                        me to Audi                            Warranty package
                                                              - Audi provides New Vehicle Limited Warranty
           Your ownership                                       coverage for your vehicle. The warranty du-
           experience                                           ration is 4 years or SO,OOO miles from your
                                                                vehicle's in-service date, whichever occurs
           Audi is committed to making your ownership
                                                                first, and covers defects in manufacturer's
           experience satisfying, pleasant, and trouble-
                                                                material and workmanship.
           free. This booklet serves as a guide to inform
           you of the maintenance intervals as well as        - A Corrosion Perforation Warranty is part of
           the complimentary services, warranties, and          your warranty coverage and extends for a
           other benefits Aud i extends to you.                 period of 12 years regardless of mileage.
                                                              - Emissions warranties, mandated by Federal
           Pre-delivery inspection                              and California laws, are also included in your
           Prior to delivery your authorized Audi dealer        warranty package. The extent of warranty
           completed an extensive and detailed inspec-          coverage for em ission parts follows those
           tion of your vehicle. At delivery, you were pro-     mandates. To determine the coverage for
           vided with an owner's literature package, an         your vehicle, read the emissions information
           introduction to the Service Department, and a        in this booklet and the California Emissions
           full demonstration of vehicle features. These        Warranty Supplement.
           services were performed to ensure your vehi-       Customer satisfaction and assistance
           cle meets Audi's high quality standards.
                                                              If you have questions or concerns about your
           First maintenance free of charge                   vehicle or service, discuss them first with
           To assist with your vehicle maintenance, Audi      management personnel at your authorized
           provides your first scheduled maintenance          Audi dealer. In the event your dealership does
           service free of charge. The maintenance is per-    not respond to your satisfaction, Audi offers
           formed at 1 year or S ,000 miles from your ve-     additional assistance.
           hicle's in-service date, whichever occurs first.   You may contact Audi Customer Relations via
           The in-service date, as well as service items      telephone or mail (please see "Customer Sat-
           performed can be found in the Maintenance          isfaction and Assistance" in this booklet for
           section of this booklet. Please contact your       contact information). A Customer Advocate,
           authorized Audi dealer to schedule this com-       in conjunction with your authorized Audi deal-
           plimentary service. For Audi R8 vehicles,          er, will work with you to gather and review all
           please contact your authorized Audi dealer         the facts relating to your concern. When the
           with the designation Audi R8 Certified Point       review is complete, Customer Relations will
           or Audi R8 Service Point to schedule this com-     let you know what further action, if any, will
           plimentary service.                                be taken.
           24-Hour Roadside Assistance                        Com plete details of the Customer Satisfaction
           As an Audi owner, you are provided with the        and Assistance programs are included in this
           protection of a 24-Hour Roadside Assistance        booklet.
           Program when you travel within the United
           States and Puerto Rico. It is available 24         GeneraL Owner Respon-
           hours a day, 36S days a year, and continues        sibilities
           for 4 years from your vehicle's in-service date,
           regardless of mileage. Please see "The Audi        As you ta ke delivery of you r neW Audi
           24-Hour Roadside Assistance Program" sec-          As you take delivery of your new Audi, it is
           tion of this booklet for additional informa-       important for you to be aware of things you
           tion.
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                                                                                    WeLcome to Audi             3


          can do, which will help make owning an Audi       which are not Audi Genuine Parts, or any dam-
          as satisfying as driving one.                     age or return failures resulting from the use
                                                            of those parts, are not covered by any Audi
          Owner's Manual
                                                            warranty.
          Please become familiar with the information
                                                            Warranty coverage
          in your Owner's Manual. The manual details
          procedures for proper vehicle operation, and      Audi's confidence in its vehicles is demon-
          offers helpful tips for maintenance and care      strated by the extensive warranty package
          which can extend the life of parts such as the    provided for you. We recommend you read the
          convertible top, battery, and trim items.         full warranty information printed in this book-
                                                            let and the California Emissions Warranty
          Maintenance services
                                                            Supplement. To obtain service under this war-
          With proper maintenance and care, your Audi       ranty the vehicle must be brought upon dis-
          will continue to provide you with a dependa-      covery of a defect in manufacturer's material
          ble and safe driving experience. The Mainte-      or workmanship, to an authorized Audi dealer
          nance section of this booklet contains Audi's     in the United States, including its territories,
          recommended service intervals as well as oth-     during normal business hours.
          er important information you need to know to
                                                            Audi R8 Warranty coverage
          care for your Audi properly. It is important
          that you retain the original copy of this book-   To ensure that all Audi R8 repairs and services
          let and always ensure that your authorized        are performed properly, all repair and service
          Audi dealer completes and stamps the corre-       work must be performed at an authorized Au-
          sponding maintenance interval box when a          di dealer with the designation Audi R8 Certi-
          service is performed.                             fied Point or Audi R8 Service Point. Due to the
                                                            specialized tools, equipment, and technical
          In all circumstances it is important you retain
                                                            training necessary to perform services and re-
          completed documents with details of mainte-
                                                            pairs, your Audi warranties do not cover serv-
          nance services, as they may be required for
                                                            ice, repair, or any damage resulting from serv-
          warranty coverage in special situations. All
                                                            ice or repair performed at a facility that is not
          maintenance records should be given to the
                                                            an authorized Audi R8 Certified Point or Audi
          new owner if your vehicle is sold.
                                                            R8 Service Point.
          Although Audi will not deny a warranty claim
          based solely on inadequate maintenance re-        Customer Satisfaction
          cords, the failure to produce maintenance re-
          cords can be a factor in denying warranty cov-
                                                            and Assistance
          erage if the vehicle has not been properly        Quality, dependability, and peace of
          maintained.                                       mind

          Replacement parts                                 We are dedicated to ensuring that you enjoy
                                                            exceptional quality, dependability, and peace
          To maintain the superior quality built into
                                                            of mind throughout your ownership experi-
          your vehicle, and to ensure optimum perform-
                                                            ence, and your authorized Audi dealer should
          ance, Audi recommends you use only Audi
                                                            be able to answer any questions regarding the
          Genuine Parts when you replace a part on your
                                                            service and operation of your Audi. Your satis-
          vehicle. Audi Genuine Parts are designed spe-
                                                            faction with our product and the service pro-
          cifically to fit your vehicle and manufactured
                                                            vided by your authorized Audi dealer is of
          to the highest standard for reliability and du-
          rability. Your warranty coverage does not de-     great importance to us.
          pend upon the use of any particular brand of
          replacement part; however replacement parts
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       4   WeLcome to Audi


           If you have a question about the service you                  - Nature of concern or problem
           have received or a situation arises that you be-              - Copies of all repair orders (if you are writing
           lieve has not been addressed to your satisfac-                  to us)
           tion, we recommend you contact your author-
                                                                         An Audi Customer Relations Advocate, in con-
           ized Audi dealer.
                                                                         junction with your authorized Audi dealer, will
           Audi dealer assistance                                        work with you to gather and carefully review
                                                                         all facts relating to your request for assis-
           Please discuss your question with the service
                                                                         tance. When the review is complete, the Cus-
           personnel or management at your authorized
                                                                         tomer Advocate will inform you of any assis-
           Audi dealer. If necessary, ask the dealership
                                                                         tance that Audi will be able to provide.
           owner or general manager for assistance.
           Your authorized Audi dealer is closest to the                 To further demonstrate our commitment to
           situation and is in the best position to quickly              our customers' satisfaction, there may be an
           resolve any concerns you may have.                            occasion when Audi may adjust its policy to
                                                                         pay for specific repairs that are no longer cov-
           Audi corporate assistance
                                                                         ered by warranty, or it may be necessary to
           In most cases, a satisfactory solution can be                 communicate other important information to
           reached through your authorized Audi dealer.                  you. If that occurs, we will notify you by mail.
           However, if your concern has still not been ad-               Therefore, it is important that you send us the
           dressed to your satisfaction, please contact                  card in the middle of this booklet if you
           Audi Customer Relations using our toll free                   change your address or if you purchase your
           number:                                                       Audi from a previous owner.

           Tel.: 1 (800) 822-2834 (available Mon-Fri: 8                  In the event you believe your authorized Audi
           a.m. to 9 p.m. EST)                                           dealer or your Customer Advocate has been
                                                                         unable to satisfactorily address your concern,
           Audi A8 and Audi R8 owners, please contact
                                                                         Audi offers additional assistance through BBB
           Audi Customer Relations at:
                                                                         AUTO LINE. BBB AUTO LINE is a dispute reso-
           Tel.: 1 (866) 892-2834 (available 24 hours a                  lution program administered by the Council of
           day/7 days a week)                                            Better Business Bureaus. For information
                                                                         about BBB AUTO LINE and state-specific con-
           You may also write to us at:
                                                                         sumer protection laws, please see "Consumer
           Audi of America, Inc.                                         Protection Information" in this booklet.
           Audi Customer Relations
           3800 Hamlin Road
                                                                         The Audi 24-Hour Roadside Assistance
           Auburn Hills, MI 48326                                        Progrann
           When you call or write, please provide the fol-
                                                                         The Audi 24-Hour Roadside Assistance Pro-
           lowing information:
                                                                         gram is your assurance that help will be there
           - Your name, address and telephone number                     should your Audi become disabled due to a
           - Vehicle Identification Number (VIN)                         mechanical breakdown under norm all) driving
           - Vehicle delivery date and mileage                           conditions or in the event of a collision.
           - Dealer's name and location


           1) Coverage does not include service to any vehicle will-
              fully driven into non-regularly traveled areas including
              but not limited to, open fields, construction sites,
              beaches, mud-filled driveways, vacant lots, or any oth-
              er area that is inaccessible or hazardous for the Road-
              side Assistance Service Operator's vehicle to reach.
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                                                                                      WeLcome to Audi            5

          Due to technical differences and unique tow-        - If you have a camera, take pictures to docu-
          ing requirements, Audi R8 and A8 vehicles             ment the vehicles in the scene. Consider car-
          have a separate toll-free number for Audi 24-         rying a disposable camera in the glove com-
          Hour Roadside Assistance.                             partment for this purpose.

          Audi 24-Hour Road-       Audi 24-Hour Road-         If necessary, contact Audi 24-Hour Roadside
          side Assistance          side Assistance (Au-       Assistance at 1 (800) 411-9988 to have your
                                   di R8 and A8 only)         vehicle towed to your nearest Audi Authorized
                                                              Collision Repair Facility. For Audi R8 and A8
                                                              vehicles only, contact Audi 24-Hour Roadside
          Please have your Vehicle Identification Num-        Assistance at 1 (866) 478-34S6 to have your
          ber (VIN) ready to provide to the dedicated         vehicles towed to the your nearest Audi Au-
          Roadside Customer Service Professional. This        thorized Aluminum Collision Repair Facility.
          number can be found on the driver's side of
                                                              Contact your Authorized Audi Dealer for the
          the dashboard visible through the windshield,
                                                              nearest Audi Authorized Collision Repair Fa-
          on your vehicle registration/insurance papers,
                                                              cility or contact Audi Customer Relations
          or in your Audi MMI system under function
                                                              (available Mon-Fri: 8 a.m. to 9 p.m. EST) at:1
          buttonCAR, if equipped. 24-Hour Roadside
                                                              (800) 822 2834 .
          Assistance is available to you for the first four
          years of your new vehicle ownership.                Audi R8 and Audi A8 owners: Contact your Au-
                                                              thorized Audi Dealer for the nearest Audi Au-
          The Audi 24-Hour Roadside Assistance Pro-
                                                              thorized Aluminum Collision Repair Facility or
          gram includes the following emergency road-
                                                              contact Audi Customer Relations (available 24
          side services: Emergency towing (disablement
                                                              hours a day/7 days a week) at: 1 (866)
          or collision), battery jump start, flat tire
                                                              892-2834.
          change, emergency fuel service, lock-out serv-
          ice, and extrication/winch service.
                                                              Audi AS, ASL, and RS body and space
          Other services and benefits include trip inter-     frame repairs
          ruption benefits throughout the United States
          and Puerto Rico.                                    The aluminum design and construction of
                                                              your Audi A8, A8L, or R8 demands that repairs
          Please refer to your Audi 24-Hour Roadside
                                                              to the body and space frame, which become
          Assistance Guide for more specific details on
                                                              necessary as a result of collision or other dam-
          the services provided by the Audi 24-Hour
                                                              age, be performed at an Audi approved Alumi-
          Roadside Assistance Program.
                                                              num Collision Repair Facility that is author-
                                                              ized by Audi to perform these repairs.
           In tile event Of a collision, tile fOllowing
           suggestions may assist you                         If your Audi A8, A8L, or R8 has been in an ac-
                                                              cident and cannot be safely driven, and is
          - Stop in a safe, well-lit area (no matter how      within the NewVehicle Limited Warranty peri-
            minor the accident).                              od, Audi will transport the vehicle free of
          - Notify the local police. Ask for an ambulance     charge from your selling/servicing dealer to
            if necessary.                                     the nearest Audi approved Aluminum Collision
          - Have your driver's license, registration, and     Repair Facility; and once repaired, will return
            insurance information ready when the police       the vehicle to your Audi dealership. Ask your
            arrive.                                           authorized Audi dealer for details.
          - Write down the names and numbers of any
                                                              While you may elect to take the vehicle to a
            witnesses and information of anyone who
                                                              non-approved Audi repair facility at your own
            may have been injured.
                                                              expense, Audi will not accept liability for any
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       6   WeLcome to Audi

           damages or incorrect repairs, including corro-
           sion, resulting from aluminum body and space
           frame repairs that are not performed in ac-
           cordance with Audi-specified procedures.


            Audi 1FTZ17FS Coupe,TTZTIS Roadster, and
            1FT RS body repairs

           The aluminum I steel design and construction
           of your Audi TT/TTS Coupe, TT/TTS Roadster
           and TT RS demands that repairs to the body
           and space frame, which become necessary as
           a result of collision or other damage, be per-
           formed at an Audi approved Aluminum Colli-
           sion Repair Facility that is authorized by Audi
           to perform these repairs.

           While you may elect to take the vehicle to a
           non-approved Audi repair facility at your own
           expense, Audi will not accept liability for any
           damages or incorrect repairs, including corro-
           sion, resulting from steel I aluminum body
           and space frame repairs that are not per-
           formed in accordance with Audi-specified pro-
           cedures.
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                                                                                                    Warranty        7


           Warranty                                             clude, but are not limited to, windshield wiper
                                                                blades, filters, belts, paint finish, worn up-
           New Vehicle Limited                                  holstery, and other trim and appearance
           Warranty                                             items.

           warranty period                                      Items subject to adjustment

           Any authorized Audi dealer in the United             The warranty covers service adjustments for
           States, including its territories, will honor this   the full warranty period with the exception of
           warranty for a period of 4 years or SO,OOO           wheel alignment and tire balancing which are
           miles, whichever occurs first. For Audi R8 ve-       covered 12 months or 12,000 miles, whichev-
           hicles, the authorized Audi dealer must also         er occurs first. A service adjustment is defined
           have the designation Audi R8 Certified Point         as an adjustment that is needed when an item
                                                                on the vehicle comes from the factory improp-
           or Audi R8 Service Point. The warranty period
           begins on the date the vehicle is delivered to       erly set to specification. Usually no parts are
           either the original purchaser or the original        involved when making an adjustment.
           lessee; or if the vehicle is first placed in serv-   Warranty repair while tralteling in Canada
           ice as a demonstrator or com pany car, on the
           date such vehicle is first placed in service.        Warranty repair while traveling in Canada
                                                                should be performed free of charge by an au-
           You are required to use the BBB AUTO LINE            thorized Audi dealer. Proof of U.S. residence is
           procedure before pursuing any legal remedy           required. If the authorized Audi dealer is un-
           under IS U.s.c. 2310(d) with respect to the          able to submit a claim for repairs, you may be
           New Vehicle Limited Warranty. You may also           asked to pay for the repair. On your return to
           be required to use the BBB AUTO LINE proce-          the United States, present the paid receipt(s),
           dure before pursuing legal remedies under            repair order(s), and partes) removed from your
           your state lemon law. Please refer to the Con-       vehicle to your authorized Audi dealer, who
           sumer Protection Information section of this         will submit a claim on your behalf and obtain
           booklet for more information.                        reimbursement for you.

                                                                Emergency repairs
           What is coltered
                                                                Emergency repairs performed by a non-Audi
           The warranty covers any repair or replacement        service facility will be reimbursed if the repair
           to correct a defect in manufacturer's material
                                                                work was needed and correctly performed,
           and workmanship. Your authorized Audi deal-
                                                                and it was impossible or unreasonable under
           er will repair the defective part or replace it      the circumstances to tow or drive your Audi to
           with a new or remanufactured Audi Genuine            the nearest authorized Audi dealer. The maxi-
           Part free of charge.                                 mum reimbursement allowable is an amount
           The warranty covers the replacement of fil-          equal to the cost if your authorized Audi deal-
           ters, oil, lubricants, fluids, and coolant only      er had completed the repair(s). Reimburse-
           when the replacement is a necessary part of          ment will be considered when the following
           warranty service on a covered component.             items are submitted to your authorized Audi
                                                                dealer:
           Items subject to normal wear
                                                                - A statement explaining the circumstances
           Items that are subject to deterioration due to         that prevented you from getting to an au-
           normal wear, driving habits or conditions are          thorized Audi dealer
           covered for defects in manufacturer's material
                                                                - Paid receipt(s)
           and workmanship for 12 months or 12,000
                                                                - Repair order(s)
           miles, whichever occurs first. These items in-
                                                                - Partes) removed from your Audi
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       8    Warranty

            Audi R8 Emergency Repairs                                     Owner's Manual, including failure to heed
                                                                          warning lights or gauges that indicate vehi-
            Emergency repairs for the Audi R8 must be
                                                                          cle malfunction.
            performed at an authorized Audi dealer with
            the designation Audi R8 Certified Point or Au-               - Damage or malfunction caused by failure to
            di R8 Service Point. Contact Audi R8 Roadside                  maintain the vehicle in accordance with the
            Assistance to have the vehicle safely trans-                   Maintenance section of this booklet, unless
            ported to the nearest Audi R8 Certified Point                  documents in the form of service or repair
            or Audi R8 Service Point. Please see "The Audi                 orders are subm itted as proof that all sched-
            24-Hour Roadside Assistance Program" sec-                      uled maintenance was performed in a timely
                                                                           manner. 1 )
            tion of this booklet for contact information.
                                                                         - Damage due to failure to take the vehicle to
                                                                           an authorized dealer upon discovery of a de-
            What is not covered
                                                                           fect in manufacturer's material or workman-
            Maintenance services                                          ship. Audi R8 only: Damage due to failure to
                                                                          take the vehicle to an authorized dealer with
            The warranty does not cover manufacturer re-
                                                                          the designation Audi R8 Certified Point or
            quired regularly scheduled maintenance serv-
                                                                          Audi R8 Service Point upon discovery of a
            ices detailed in the Maintenance section of
                                                                          defect in manufacturer's material or work-
            this booklet, or service parts, fluids, and labor
                                                                          manship.
            for such services.
                                                                         - Damage or malfunction caused byaltera-
            Tires                                                          tions to the original engineering such as
                                                                           suspension or performance modification.
            The tire manufacturer warrants tires. To assist
            you in obtaining warranty information for                    - Damage or malfunction caused by misuse
                                                                           such as racing, competitive events, or driv-
            tires, a list of manufacturers is provided in
                                                                           ing over curbs.
            th is booklet.
                                                                         - Damage or malfunction caused by using
            Parts which are not Audi Genuine Parts                         contaminated or improper fuel, operation
            While you may elect not to use Audi Genuine                    fluids, or other chemicals, and intentional or
            Parts for repair or maintenance services, Audi                 unintentional misfueling.
            is not obligated to pay for repairs that do not              - Damage or malfunction caused by the envi-
            include Audi Genuine Parts, or for any damage                  ronment such as road salt, bird droppings,
            resulting from the use of non-genuine parts.                   acid rain, fire, or weather conditions.
            Audi will not accept any liability for any parts             - Incidental or consequential damage such as
            and accessories not approved by Audi.                          loss of value of the vehicle, lost profits or
                                                                           earnings, and out of pocket expenses for
            Other exclusions - New Vehicle Limited                         substitute transportation or lodging. Some
            Warranty                                                       states may not allow the exclusion or limita-
            - Damage or malfunction caused by improper                    tion of incidental or consequential damage,
              repair, accident, collision, or vandalism.                  so this limitation or exclusion may not apply
            - Damage or malfunction caused by failure to                  to you.
              operate the vehicle in accordance with the



            1) If maintenance services are performed by someone
               other than an authorized Audi dealer, information on
               the service or repair order document must include, at
               a minimum, the Vehicle Identification Number (VIN),
               service center or retailer name and address, vehicle
               mileage, date of service or purchase, and list of serv-
               ice or purchase items.
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                                                                                                  Warranty         9

           - Appearance care and maintenance such as          Some states do not allow limitations on how
             cleaning and polishing.                          long an implied warranty lasts, so the above
           - Noise, vibration, cosmetic conditions, and       limitations may not apply to you. This warran-
             other deterioration caused by normal wear        ty gives you specific legal rights and you may
                                                              also have other rights, which vary from state
           This warranty is void if the vehicle identifica-
                                                              to state.
           tion number or odometer has been altered,
           or the actual mileage cannot be determined,        Neither Audi nor the manufacturer assumes,
           and when a vehicle is reported as disman-          or authorizes any person to assume, any other
           tled, fire/flood damaged,junk, rebuilt, re-        obligation or liability on its behalf.
           constructed, salvaged, or declared a total
                                                              Audi reserves the right to make improvements
           loss by an insurer.
                                                              or change the design of any model Audi vehi-
                                                              cle at any time with no obligation to make
           Genera I wa Fra nty terms - New Vehicle            similar changes on vehicles already sold.
           Limited Warranty
                                                              All warranty information is the latest availa-
           Audi of America, Inc., an operating unit of        ble at the time of publication and, with the
           Volkswagen Group of America, Inc. ("Audi") is-     exception of the em ission control warranties,
           sues this warranty. It only applies to vehicles    is subject to change without notice.
           or parts and accessories that are im ported or
           distributed by Audi, and vehicles originally       Limited Warranty
           sold by an authorized Audi dealer in the Unit-
           ed States, including its territories. This war-
                                                              Against Corrosion
           ranty is only applicable in the United States      Perforation
           and its territories. An authorized Audi dealer
                                                              warranty period
           in any other country has no obligation to pro-
           vide warranty service to your vehicle. If you      Any authorized Audi dealer in the United
           are using your vehicle outside the United          States, including its territories, will honor this
           States and its territories, and experience a       warranty for a period of 12 years without
           problem with your vehicle, we recommend            mileage limitation. For Audi R8 vehicles, the
           that you contact the local Audi dealer. You        authorized Audi dealer must also have the
           should always have the original United States      designation Audi R8 Certified Point or Audi R8
           Warranty and Maintenance Booklet, complete         Service Point. The warranty period begins on
           with the appropriate stamped maintenance           the date the vehicle is delivered to either the
           services, available for the local Audi dealer.     original purchaser or the original lessee; or if
                                                              the vehicle is first placed in service as a dem-
           The NewVehicle Limited Warranty and Limit-
                                                              onstrator or company car, on the date such ve-
           ed Warranty Against Corrosion Perforation are
                                                              hicle is first placed in service.
           transferred, without cost, if ownership of the
           vehicle changes within the warranty period.
                                                              What is covered
           The NewVehicle Limited Warranty, Limited
           Warranty Against Corrosion Perforation, and        The warranty covers any repair or replacement
           the Emissions Warranties are the only express      to correct a defect in manufacturer's material
           warranties made in connection with the sale        and workmanship that will result in rust per-
           of this Audi. Any implied warranty, including      foration of the vehicle body. Your Audi dealer
           any warranty of merchantability or warranty        will repair the defective part or replace it with
           of fitness for a particular purpose, is limited    a new or remanufactured Audi Genuine Part
           in duration to the stated period of these writ-    free of charge.
           ten warranties.
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            What is not covered                                Other exclusions as defined in the NewVehi-
                                                               cle Limited Warranty also apply to this war-
            Failure to rustproof when collision                ranty.
            damage is repaired
            Body parts repaired or newly installed after a     General warran~ terms
            collision must be treated with a rustproofing
            agent that is compatible with and comparable       General warranty terms as defined in the
            to Audi's own factory corrosion protection.        New Vehicle Limited Warranty also apply to
            Corrosion perforation resulting from failure to    this warranty.
            protect new or repaired parts as stated, or us-
            ing an inferior rustproofing agent or method       FederaL Emissions
            is not covered by this warranty.                   Warranties
            Parts which are not Audi Genuine Parts
                                                               General warran~ information
            While you may elect not to use Audi Genuine
                                                               The Emissions Warranties set out on the fol-
            Parts for maintenance or repair services, Audi
                                                               lowing pages are warranties which the manu-
            is not obligated to pay for repairs that do not
                                                               facturer is required by law to furnish to you at
            include Audi Genuine Parts or for any damage
                                                               the time you take delivery of your new vehicle.
            resulting from the use of non-genuine parts.
                                                               These coverages may also be included in the
            Audi will not accept any liability for any parts
                                                               Audi 4 years / SO,OOO miles New Vehicle Lim-
            and accessories not approved by Audi.
                                                               ited Warranty.
            Paint repair
                                                               The warranties required by Federal laws apply
            Your authorized Audi dealer will do its best to    to all new Audi vehicles imported and distrib-
            match your vehicle's original finish. The cost     uted by Audi of America, Inc., an operating
            of painting the entire vehicle solely for paint    unit of Volkswagen Group of America, Inc.
            matching is not covered by this warranty.          ("Audi") for sale in the United States, includ-
                                                               ing its territories. The warranties required by
            Other exclusions - Limited Warranty
                                                               the State of California law apply to all new Au-
            Against Corrosion Perforation
                                                               di vehicles imported and distributed by Audi
            - Surface corrosion without perforation of the     for sale and registration in the States of Cali-
              body sheet metal                                 fornia, Connecticut, Maine, Maryland, New
            - Corrosion perforation resulting from failure     Jersey, Oregon, Rhode Island, Vermont, Wash-
              to promptly repair paint or undercoating         ington, and the Commonwealths of Massa-
              damage, or surface corrosion                     chusetts and Pennsylvania. Therefore, the
            - Corrosion perforation resulting from unre-       owner of an above mentioned vehicle may
              paired collision or accident damage, or fail-    have warranty rights under both Federal and
              ure to perform body repairs in accordance        State mandated emissions warranties.
              with Audi's specified repair procedures, in-
                                                               The State of New York has adopted em issions
              cluding use of non-aluminum alloy parts
                                                               warranty requirements identical to California
            This warranty is void if the vehicle identifica-   mandated emissions warranties ONLY for ve-
            tion number or odometer has been altered,          hicles equipped to meet California's Partial
            or the actual mileage cannot be determined,        Zero Emission Vehicle (PZEV) requirements,
            and when a vehicle is reported as disman-          as identified on the Vehicle Emission Control
            tled, firelflood damaged, junk, rebuilt, re-       Information Label located under the hood.
            constructed, salvaged, or declared a total         Therefore, the owner of an Audi equipped to
            loss by an insurer.                                meet California's PZEV emissions require-
                                                               ments and imported and distributed by Audi
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                                                                                                    Warranty        11

           for sale and registration in New York may have       a warranty repair, which affects any regulated
           warranty rights under both Federal and State         emission from a motor vehicle or engine
           mandated emissions warranties.                       which is subject to EPA emission standards.
                                                                The following parts or systems listed, if defec-
           Please read these warranties carefully. If you
                                                                tive, could cause the vehicle to fail to conform
           have any questions concerning the applicabili-
                                                                with EPA regulations:
           ty of each warranty to your vehicle or want to
           know whether a particular repair will be per-        - Evaporative Emission Control System: in-
           formed free of charge pursuant to these war-           cluding fuel tank, filler cap, filler neck and
           ranties, please write to or telephone:                 leak detection pump
                                                                - Exhaust System: including manifolds, turbo-
           Audi of America, Inc.
                                                                  chargers, catalytic converters, down pipes
           Audi Customer Relations
                                                                  and particulate filters
           3800 Hamlin Road
                                                                - EGR System: including valves, pipes and
           Auburn Hills, MI 48326
           Tel.: 1 (800) 822-2834 (available Mon-Fri: 8           coolers
           a.m. to 9 p.m EST)                                   - Fuel Injection System: including control
           Tel.: 1 (866) 892-2834 (For A8 and R8 own-             modules, sensors, switches, valves and fuel
           ers. Available 24 hours a day/7 days a week)           lines
                                                                - Intake System: including camshaft adjuster
           Refer to the California Emissions Warranty             units, sensors, manifold, pipes and control
           Supplement for additional information on               valves
           California emissions warranty coverage.              - Ignition System: including coils and sensors
                                                                - aBD System: including Malfunction Indica-
                                                                  tor Lamp (MIL) and Data Link Connector
            Federal Emissions Control System
            Defect Warranty                                     - PCV System: including control valves and
                                                                  pipes
           For 2 Years or 24,000 miles                          - Secondary Air Injection System: including
           Audi of America, Inc., an operating unit of            air pum p and control valves
           Volkswagen Group of America, Inc. ("Audi"),          - Emission-related hoses, gaskets, clamps
           the authorized United States importer of Audi          and other accessories used with the above
           vehicles, warrants to the original retail pur-         components
           chaser or original lessee and any subsequent
                                                                The obligation of Audi under this warranty is
           purchaser or lessee that every model year
                                                                limited, however, to the following: If within
           2012 Audi vehicle imported by Audi:
                                                                this period a defect in material or workman-
           - was designed, built and equipped so as to          ship causes the vehicle to fail to conform with
             conform at the time of sale with all applica-      EPA regulations and the vehicle is brought to
             ble regulations of the United States Environ-      the workshop of any authorized Audi dealer in
             mental Protection Agency (EPA), and                the United States, including its territories, the
           - is free from defects in material and work-         dealer will make repairs as may be required by
             manship which causes the vehicle to fail to        these regulations free of charge. For Audi R8
             conform with EPA regulations for 2 years af-       vehicles, the authorized Audi dealer must also
             ter the date of first use or delivery of the ve-   have the designation Audi R8 Certified Point
             hicle to the original retail purchaser or origi-   or Audi R8 Service Point.
             nallessee or until the vehicle has been driv-
                                                                For 8 Years or 80,000 miles
             en 24,000 miles, whichever occurs first.
                                                                If the vehicle has been in use for more than 2
           A warranted part is any part installed on a
                                                                years or 24,000 miles, but less than 8 years or
           motor vehicle or motor vehicle engine by the
                                                                80,000 miles, whichever occurs first, your
           vehicle or engine manufacturer, or installed in
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            authorized Audi dealer will repair or replace      - The vehicle has been maintained and operat-
            free of charge the following major emission          ed in accordance with Audi's instructions for
            control components only:                             proper maintenance and use.

            - Catalytic Converter
            - Engine Electronic Control Module                  Performance Warranty claim approval
            - On-Board Diagnostic Device                       You may raise a claim under this warranty im-
            For Audi R8 vehicles, the authorized Audi          mediately after your vehicle has failed an IIM
            dealer must also have the designation Audi R8      Test if, as a result of that failure, you are re-
            Certified Point or Audi R8 Service Point.          quired by law to repair the vehicle to avoid im-
                                                               position of a penalty or cancellation of your
                                                               right to use the vehicle. You need not actually
            Federal Emissions Performance
            Warranty: For 2 years or 24,000 miles              suffer the loss or lose the right to use your ve-
            and 8 years or 80,000 miles                        hicle or pay for the repair before presenting
                                                               your claim.
            Audi of America, Inc., an operating unit of
            Volkswagen Group of America, Inc. ("Audi")         Claims may be presented only by bringing
            warrants to the original retail purchaser or       your vehicle to any authorized Audi dealer in
            original lessee of a model year 2012 Audi ve-      the United States, including its territories. For
            hicle and any subsequent purchaser or lessee       Audi R8 vehicles, the authorized Audi dealer
            of the vehicle that if the following conditions    must also have the designation Audi R8 Certi-
            are met, any authorized Audi dealer (for Audi      fied Point or Audi R8 Service Point. The dealer
                                                               will honor or deny your claim within a reason-
            R8 vehicles, the authorized Audi dealer must
            also have the designation Audi R8 Certified        able time, not to exceed thirty (30) days, from
            Point or Audi R8 Service Point) in the United      the time at which your vehicle is presented for
            States, including its territories, will remedy     repair or within any time period specified by
            any nonconformity, as determined below, free       local, state or Federal law, whichever is short-
            of charge, under the following conditions:         er, except when a delay is caused by events
                                                               not attributable to Audi or the dealer. If the
            - The vehicle fails to conform at any time dur-    dealer denies your claim, you will be notified
              ing 2 years or 24,000 miles, whichever oc-       in writing of the reasons for rejecting the
              curs first, to applicable emission inspection    claim. If you do not receive notice of denial of
              standards as determ ined by an EPA Ap-           your claim within the above time period, Audi
              proved State Inspection and Maintenance          is required by law to honor the claim.
              Test (lIM), or
                                                               Under certain circumstances, your claim may
            - If the vehicle has been in use for more than
                                                               be denied because you have failed to comply
              2 years or 24,000 miles, but less than 8
                                                               with instructions for scheduled maintenance
              years or 80,000 miles, whichever occurs
                                                               contained in the Maintenance section of this
              first, the vehicle fails an IIM Test resulting
                                                               booklet. In determining whether you have
              from a malfunction of a catalytic converter,
              engine electronic control module or on-          complied with the instructions for scheduled
                                                               maintenance and proper use, Audi may re-
              board diagnostic device (OBD), and
                                                               quire you to furnish proof of compliance only
            - The failure of the IIM Test requires the vehi-
                                                               with those maintenance instructions which
              cle owner to bear any penalty or other sanc-
                                                               Audi has reason to believe were not per-
              tion, including the denial of the right to use
                                                               formed and which could be the cause of the II
              the vehicle under local, state or Federal law,
                                                               M Test failure.
              and
                                                               Audi may deny an emission performance war-
                                                               ranty claim on the basis that a replacement
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                                                                                                   Warranty        13

           part not certified by the EPA was used in the        mentation as proof you have performed the
           maintenance or repair of the vehicle if Audi         maintenance at the approximate time or mile-
           can prove that the non-certified part is either      age intervals recommended, that you have
           defective in materials or workmanship, or not        used proper parts, and that you were able to
           equivalent from an emission standpoint to the        perform the maintenance properly.
           original part, and you are not able to offer in-
                                                                Failure to maintain your vehicle according to
           formation that the part is either not defective
                                                                the instruction for proper maintenance may
           or equivalent to the original part with respect
                                                                cause the vehicle to exceed applicable emis-
           to its emission performance.
                                                                sions standards and could result in denial of
           Audi will not deny a claim relating to:              warranty coverage. However, Audi will not de-
                                                                ny a warranty claim solely on the basis of your
           - Warranty work or pre-delivery service per-
                                                                failure to maintain the vehicle according to
            formed by an authorized Audi dealer
                                                                the instructions or failure to keep a record of
           - Work performed in an emergency to rectify
                                                                maintenance.
             an unsafe condition attributable to Audi,
             provided you have taken steps in a timely          Instructions for proper use of the vehicle are
             manner to put the vehicle back into a con-         contained in your Audi Owner's Manual.
             forming condition
                                                                Use of Audi Genuine Parts
           - The use of an uncertified part or to noncom-
             pliance with the instructions for proper           Audi recommends that Audi Genuine Parts be
             maintenance and use, which is not related          used as replacement parts for the mainte-
             to the IIM Test failure                            nance, repair or replacement of emission con-
                                                                trol systems. Use of replacement parts which
                                                                are not equivalent to Audi Genuine Parts in
           Additional Information About¥our
           Federal Emissions Warranties                         emission performance and durability may im-
                                                                pair the effectiveness of em ission control sys-
           Warranty period                                      tems. Although use of parts other than Audi
           The warranty period begins on the date the           Genuine Parts does not invalidate these war-
           vehicle is delivered to the original retail pur-     ranties, Audi assumes no liability under these
           chaser or original lessee, and any subsequent        warranties for failure of such parts and dam-
           purchaser or lessee or, if the vehicle is first      age to other parts caused by such failure.
           placed in service as a demonstrator or compa-
                                                                EPA certified replacement parts
           ny demonstrator or com pany car prior to de-
           livery, on the date it is first placed in service.   Maintenance, repair, or replacement of emis-
                                                                sion control devices and systems may be per-
           Proper maintenance and use                           formed by any automotive service and repair
           Instructions for proper maintenance are con-         establishment or qualified individual using
           tained in the Maintenance section of this            Environmental Protection Agency (EPA) certi-
           booklet. Time and mileage intervals, at which        fied replacement parts.
           maintenance is to be performed, may vary
                                                                Maintenance and repairs performed by
           from model to model.                                 independent service shops
           Audi recommends you keep a record of sched-          Without invalidating these warranties, you
           uled maintenance by having the Maintenance           may choose to have maintenance, repair, or
           section of this booklet validated at the ap-         replacement of emission control components
           proximate time or mileage intervals by the au-       performed by any automotive service estab-
           thorized Audi dealer or other service facility       lishment or individual qualified to perform
           that performed the maintenance. If you per-          such services. The cost of such services, how-
           form the maintenance yourself, keep all docu-        ever, is not covered by these warranties except
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            in emergencies. If the independent service es-      er had completed the repair(s). Reimburse-
            tablishment finds a warrantable defect, you         ment will be considered when you submit all
            may deliver the vehicle to an authorized Audi       of the following items to your authorized Audi
            dealer and have the defect corrected free of        dealer:
            charge. Audi R8 only: you may deliver the ve-
                                                                - A statement explaining the circumstances
            hicle to an authorized Audi dealer with the
                                                                  that prevented you from getting to an au-
            designation Audi R8 Certified Point or Audi R8
                                                                  thorized Audi dealer
            Service Point and have the defect corrected
                                                                - Paid receipt(s)
            free of charge. Audi will not be liable for any
                                                                - Repair order(s)
            expenses that you have incurred at the inde-
                                                                - Partes) removed from your Audi
            pendent service establishment, except for
            emergency repairs. See "Emergency Repairs"          Audi R8 Emergency Repairs
            for further details.
                                                                Emergency repairs for the Audi R8 must be
            Parts not scheduled for inspection or               performed at an authorized Audi dealer with
            replacement                                         the designation Audi R8 Certified Point or Au-
            Any part, which is not scheduled for inspec-        di R8 Service Point. Contact Audi R8 Roadside
            tion or replacement at maintenance intervals        Assistance to have the vehicle safely trans-
            specified in the Maintenance section of this        ported to the nearest Audi R8 Certified Point
            booklet, is covered by this warranty for the        or Audi R8 Service Point. Please see "The Audi
            full warranty period.                               24-Hour Roadside Assistance Program" sec-
                                                                tion of this booklet for contact information.
            Scheduled part inspection or replacement
                                                                Damage caused by tampering, use of
            A part scheduled only for inspection in accord-     improper fuel, abuse, neglect and
            ance with Audi's instructions or required           improper maintenance
            scheduled maintenance is covered for the du-
                                                                These warranties do not cover any damage to
            ration of these warranties.
                                                                the vehicle caused by tampering with emis-
            A part installed in accordance with Audi's in-      sion controls, use of fuel containing lead, or
            structions or required scheduled maintenance        fuel not meeting the specifications set forth
            is warranted until the next scheduled replace-      in the Owner's Manual, and abuse, neglect or
            ment interval or for the duration of these war-     improper maintenance of the vehicle. Diagno-
            ranties.                                            sis and repair of such damage are at the ex-
                                                                pense of the owner.
            Damage to non-warranty parts
                                                                Implied warranties
            If failure of a warranted part causes damage
            to a part not covered by warranty, the non-         Any implied warranty, including anywarran-
            warranted part will also be replaced free of        ty of merchantability or warranty offitness
            charge.                                             fora particular purpose, is limited in dura-
                                                                tion to the stated period of these written
            Emergency repairs
                                                                warranties.
            Emergency repairs performed by a non-Audi
            service facility will be reimbursed if the repair   Incidental and consequential damages
            work was needed and correctly performed,            These warranties do not cover any incidental
            and it was impossible or unreasonable under         or consequential damages, includ ing loss of
            the circumstances to tow or drive your Audi to      resale value, lost profits or earnings, and
            the nearest authorized Audi dealer. The maxi-       out-of-pocket expenses for su bstitute trans-
            mum reimbursement allowable is an amount            portation or lodging.
            equal to the cost if your authorized Audi deal-
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                                                                                                Warranty        15

           Some states do not allow the exclusion or lim-     BBB AUTO LINE is free of charge to you but
           itation of incidental or consequential damag-      there are some vehicle age and mileage limi-
           es, so this limitation or exclusion may not ap-    tations, so please call BBB AUTO LIN E for
           ply to you.                                        more details:

                                                              Tel.: 1 (800) 955-5100

            In the event you have not rete ived the           If you call BBB AUTO LINE, please be prepared
            services promised in these warranties,            to provide the following information:
            please follow the procedures described in         - Your name and address
            th is booklet u nde r the titLe "Custome r        - The Vehicle Identification Number (VIN)
            satisfaction and assistance".                     - The make, model, and model year of your
            - You may obtain further information re-            vehicle
              garding the Emissions Performance War-          - The delivery date and current mileage of
              ranty or re port v iolati on of the te rms of     your vehicle
              the Emissions Defect or Performance             - A description of the concern with your vehi-
              Warranty by contacting: US Environmen-            cle
              tal Protection Agency, Compliance and
              Innovation Strategy Division, Attention:        The BBB AUTO LINE program consists of two
              Em issions Warranty Claims, 2000 Traver-        parts: mediation and arbitration. Mediation
              wood Rd., Ann Arbor, MI 48105.                  means that BBB staff will facilitate negotia-
                                                              tions between the parties in an effort to bring
                                                              your claim to a mutually acceptable resolu-
           Kansas Safety BeLt
                                                              tion. If you do not agree with the mediated
           Limited Warranty                                   solution, you may request an arbitration hear-
           Applicable only to vehicles sold or registered     ing.
           in the State of Kansas.                            Arbitration is a process by which an impartial
           For vehicles sold or registered in the State of    person makes a decision on your claim. The ar-
           Kansas, safety belts and related safety belt       bitrators are not connected with the automo-
           components are warranted against defects in        bile industry and serve on a voluntary basis.
           manufacturer's materials and workmanship           You may attend the hearing in person, bring
           for a period often (10) years, regardless of       witnesses, and give supporting evidence. In-
           mileage.                                           stead of appearing in person, you may request
                                                              a written or even a telephone arbitration hear-
           Exclusions as defined in the New Vehicle           ing. The BBB shall make every effort to obtain
           Limited Warranty also apply to this warran-        a final resolution of your claim within S busi-
           ty.                                                ness days of the hearing (that is, within 40
                                                              days of when your claim was filed), unless
           Consumer Protection                                state or Federal law provides otherwise. You
           Information                                        then have the opportunity to accept or reject
                                                              the decision.
           Informal dispute mechanism
                                                              - If you accept the decision, the manufacturer
           If your authorized Audi dealer or Audi Cus-          will be bound by the decision and will be re-
           tomer Advocate has been unable to satisfac-          quired to fulfill its obligation within the
           torily address your concern, Audi offers addi-       timeframe specified by the arbitrator.
           tional assistance through BBB AUTO LINE, a         - If you reject the decision, you are free to
           dispute resolution program administered by           pursue other legal remedies available under
           the Council of Better Business Bureaus.              state or Federal law, and the manufacturer
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             will not be required to comply with any part
             of the decision.
                                                                Audi participates in BBB AUTO LINE, a media-
                                                                tion/arbitration program administered by the
            State-Specific Warranty
                                                                Council of Better Business Bureaus (4200 Wil-
            Enforcement Laws                                    son Boulevard, Suite 800, Arlington, Virginia
            Local laws                                          22203). BBB AUTO LINE and Audi have been
                                                                certified by the Arbitration Certification Pro-
            Each state has enacted warranty enforcement         gram of the California Department of Con-
            laws (commonly referred to as "lemon laws")         sumer Affairs.
            that permit owners to obtain a replacement
                                                                If you have a problem arising under an Audi
            vehicle or a refund of the purchase price under
                                                                written warranty, we request that you bring it
            certain circumstances. Although the provi-
                                                                to our attention. Ifwe are unable to resolve it,
            sions of these laws vary from state to state,
                                                                you may file a claim with BBB AUTO LINE.
            their intent is to provide owners with certain
                                                                Claims must be filed with BBB AUTO LINE
            rights if they experience significant service-re-
                                                                within six (6) months after the expiration of
            lated difficulties with their new vehicle.
                                                                the warranty.
            IMPORTANT NOTICE: To the extent allowed
                                                                To file a claim with BBB AUTO LINE, call:
            by each state's law, Audi requires that the
            owner first send written notification to Audi       Tel.: 1 (800) 955-5100
            explaining the nonconformity that the owner
                                                                There is no charge for the call.
            has experienced with the vehicle, and to allow
            Audi the opportunity to make any needed re-         In order to file a claim with BBB AUTO LINE,
            pairs before the owner pursues other rem-           you will have to provide your name and ad-
            edies provided by that state's law (in all other    dress, the brand name and vehicle identifica-
            states where not specifically required by state     tion number (VIN) of your vehicle, and a
            law, Audi requests that the owner provide the       statement of the nature of your problem or
            written notification). The owner should send        complaint. You will also be asked to provide:
            written notification to:                            the approximate date of your acquisition of
                                                                the vehicle, the vehicle's current mileage, the
            Audi of America, Inc.
                                                                approximate date and mileage at the time any
            Audi Customer Relations
                                                                problem(s) were first brought to the attention
            3800 Hamlin Road
                                                                of Audi or one of our dealers, and a statement
            Auburn Hills, MI 48326
                                                                of the relief you are seeking.
            IMPORTANT NOTICE: Depending on the
                                                                BBB AUTO LINE staff may try to help resolve
            state's law, the owner may also be required to
                                                                your dispute through mediation. If mediation
            submit their complaint to BBB AUTO LINE be-
                                                                is not successful, or if you do not wish to par-
            fore seeking other remedies. Please refer to
                                                                ticipate in mediation, claims within the pro-
            the information under the title "Informal dis-
                                                                gram's jurisdiction may be presented to an ar-
            pute mechanism" in this booklet for more in-
                                                                bitrator at an informal hearing. The arbitra-
            formation about the BBB AUTO LINE dispute
                                                                tor's decision should ordinarily be issued with-
            resolution program.
                                                                in 40 days from the time your complaint is
            Because each state has enacted specific provi-      filed; there may be a delay of 7 days if you did
            sions as part of its lemon law, owners are ad-      not first contact Audi about your problem, or
            vised to research and follow the laws in their      a delay of up to 30 days if the arbitrator re-
            state.                                              quests an inspection/report by an impartial
                                                                technical expert or further investigation and
                                                                report by BBB AUTO LIN E.
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                                                                                                    Warranty        17

           You are required to use BBB AUTO LINE before          The following remedies may be sought in BBB
           asserting in court any rights or remedies con-        AUTO LINE: repairs, reimbursement for mon-
           ferred by California Civil Code Section               ey paid to repair a vehicle or other expenses
           1793.22. You are not required to use BBB AU-          incurred as a result of a vehicle nonconformi-
           TO LINE before pursuing rights and remedies           ty, repurchase or replacement of your vehicle,
           under any other state or Federal law.                 and compensation for damages and remedies
                                                                 available under Audi's written warranty or ap-
           California Civil Code Section 1793.2(d) re-
                                                                 plicable law.
           quires that, if Audi or its representative is un-
           able to repair a new motor vehicle to conform         The following remedies may not be sought in
           to the vehicle's applicable express warranty          BBB AUTO LINE: punitive or multiple damag-
           after a reasonable number of attempts, Audi           es, attorney fees, or consequential damages
           may be required to replace or repurchase the          other than as provided in California Civil Code
           vehicle. California Civil Code Section                Section 1794(a) and (b).
           1793.22(b) creates a presumption that Audi
                                                                 You may reject the decision issued by a BBB
           has had a reasonable number of attempts to
                                                                 AUTO LINE arbitrator. If you reject the deci-
           conform the vehicle to its applicable express
                                                                 sion, you will be free to pursue further legal
           warranties if, within 18 months from delivery
                                                                 action. The arbitrator's decision and any find-
           to the buyer or 18,000 miles on the vehicle's
                                                                 ings will be admissible in a court action.
           odometer, whichever occurs first, one or more
           of the following occurs:                              If you accept the arbitrator's decision, Audi
                                                                 will be bound by the decision, and will comply
           - The same nonconformity (a failure to con-
                                                                 with the decision within a reasonable time not
             form to the written warranty that substan-
                                                                 to exceed 30 days after we receive notice of
             tially impairs the use, value, or safety of the
                                                                 your acceptance of the decision.
             vehicle) results in a condition that is likely to
             cause death or serious bodily injury if the ve-     Please call BBB AUTO LINE for further details
             hicle is driven AND the nonconformity has           about the program.
             been subject to repair two or more times by
             Audi or its agents AND the buyer or lessee          Service Publications
             has directly notified Audi of the need for the
             repair of the nonconformity; OR                     Updated service infOrmation you can
                                                                 obtain
           - The same nonconformity has been subject
             to repair 4 or more times by Audi or its            Audi monitors product performance in the
             agents AND the buyer has notified Audi of           field and regularly sends dealers the latest
             the need for the repair of the nonconformi-         service information about Audi vehicles. Now
             ty; OR                                              you too, can get these bulletins. Your author-
           - The vehicle is out of service by reason of the      ized Audi dealer or a qualified technician may
             repair of nonconformities by Audi or its            have to determine if a specific bulletin applies
             agents for a cum ulative total of more than         to your vehicle. You can order Audi bulletins,
             30 calendar days after delivery of the vehicle      Audi repair information, and Owner's Litera-
             to the buyer.                                       ture 24 hours / 7 days a week on the Internet
           NOTICE TO AUDI AS REQUIRED ABOVE SHALL                from the Audi Technical Literature Ordering
           BE SENT TO TH E FOLLOWING ADDRESS:                    Center at:

           Audi of America, Inc.                                 https://www.audi.techliterature.com
           Audi Customer Relations
           3800 Hamlin Road
           Auburn Hills, MI 48326
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       18   Warranty

                                                                  Continental General
                                                                  1800 Continental Blvd.
             These bulletins are intended for qualified           Charlotte, NC 28273 .
             technicians. They are not meant for the              Tel.: 1 (800) 847-3349
             CASUAL do-it-yourse lfer. Qualified techn i-
             ci a n shave th e eq u ip me nt, tools, safety in-   Michelin Tire Corp.
             structions, and know-how to do a job prop-           P.O. Box 19001
             e rly and safe ly. Imp rope rly performed re-        Greenville, SC 29602-9001
             pai rs or m a inte n a nee ea n adversely affect     Tel.: 1 (800) 847-3435
             the safety of your vehicle, possibly leading         PireUi Tires North America
             to accide nt or in jury. They maya Iso i m pai r     300 George Street, 5th Floor
             the economy, durability or reliability of            New Haven, CT 06511
             your vehicle and may void the warranty of            Tel.: 1 (800) 747-3554
             your car. If you are not sure that you can
             perform a job properly and safely, you               Toyo Tire U.S.A. Corp
             sh ou ld not risk tryi ng to do so.                  3261 Katella Ave., Suite 2B
                                                                  Cypress, CA 90630
                                                                  Tel.: 1 (800) 442-8696
            Tire Manufacturers
                                                                  Yokohama Tire Corporation
            List of ti Fe ma nufactu rers fo r new Aud i          601 South Acacia Avenue
            vehides                                               Fullerton, CA 92831
            The Magnuson-Moss Warranty Federal Trade              Tel.: 1 (800) 722-9888
            Commission Improvement Act of 1975 and
            regulations issued pursuant to the act require
            that a tire warranty pamphlet be placed in ev-
            ery new vehicle prior to sale.

            To assist you in obtaining the related warranty
            information, the following list of tire manu-
            facturers and addresses is being provided.

            Manufacturer Addresses and Phone
            Numbers

            Dunlop Tire Corp.
            1144 East Market Street
            Akron, OH 44316
            Tel.: 1 (800) 548-4714

            Bridgestone/Firestone Inc.
            1 Bridgestone Park
            Nashville, TN 37214
            Tel.: 1 (800) 356-4644

            GoodyearTire & Rubber Co.
            1144 East Market Street
            Akron, OH 44316
            Tel.: 1 (800) 321-2136
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                                                                                            Maintenance         19


           Maintenance                                        Audi R8 Service and Repairs

                                                              Due to the specialized tools, equipment, and
           Where do I bring my
                                                              technical training necessary to perform serv-
           vehicle for service?                               ice and repairs on the Audi R8, Audi recom-
           Authorized Audi dealers                            mends that all maintenance service and repair
                                                              work is performed at an authorized Audi deal-
           Audi recommends you take your vehicle only         er with the designation Audi R8 Certified
           to authorized Audi dealers to ensure that ve-      Point or Audi R8 Service Point. Audi will not
           hicle repairs are performed to the highest         accept any liability for maintenance service,
           specifications. Your authorized Audi dealer        repair, or any damage resulting from mainte-
           has the proper tools and equipment, the staff      nance service or repair performed at a facility
           of trained specialists, and access to the exten-   that is not an authorized Audi dealer with the
           sive range of parts necessary to properly          designation Audi R8 Certified Point or Audi R8
           maintain your vehicle's safety, reliability, and   Service Point.
           value for years to come.


           When do I bring my vehicle in for service?
           Service intervals

           If you are not sure when you should bring
           your Audi in for service or which services are
                                                               85,000 miles           Standard Mainte-
           to be performed on yourvehicle, ask your au-
                                                               (130,000 km)           nance Service
           thorized Audi Service Advisor.


            5,000 miles             Standard Mainte-
            (8,000 km)')            na n ce Se rvice with      105,000 miles          Standard Mainte-
                                    ti re rotati on            (160,000 km)           nance Service



                                                               115,000 miles          Major Maintenance
            25,000 miles            Standard Mainte-           (175,000 km)           S e rvi ce with ad di-
            (40,000 km)             nance Service                                     tional items




           45,000 miles             Standard Mainte-           130,000 miles          Timing Belt Replace-
           (70,000 km)              nance Service              (205,000 km)           ment (Audi A3 2.0L
                                                                                      TDI only)



            65,000 miles            Standard Mainte-
            (100,000 km)            nance Service              145,000 miles          Standard Mainte-
                                                               (220,000 km)           nance Service
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       20   Maintenance

                                                                              The intervals shown in this table are based on
                                                                              vehicles operating under normal conditions.
                                                                              In case of severe conditions, such as extreme-
                                                                              ly low temperatures, excessive dust, etc., it is
                                                                              necessary for certain operations to be carried
                                                                              out in between the given intervals. This ap-
            a)    First standard maintenance service at 5,DOO miles           plies particularly to engine oil changes and
                  (8,000 kml or 1 year after delivery, whichever occurs       the cleaning or replacing of the air cleaner fil-
                  first. Standard maintenance services thereafter occur
                  at intervals of 10,000 miles (15,000 kml or 1 year af-
                                                                              ter element.
                  ter the last standard maintenance service, whichever
                  occurs first.
            b)    First major maintenance service at 15,DOO miles
                  (25,000 kml or 2 years after delivery, whichever oc-
                  curs first. Major maintenance services thereafter occur
                  at intervals of 20,000 miles (30,000 kml or 2 years
                  after the last major maintenance service, whichever
                  occurs first.

            Time-sensitive maintenance items

                 Service interval by time (and miLeage where                                Maintenance item
                                  applicabLe)



             Every 2 years regardless of mileage (kilome-                   Check cloth top fu nction and roll -over p rotec-
             ters)                                                          tion with cloth top down (Audi AS Cabriolet,
                                                                            Audi SS Cabriolet, R8 Sypder only)



             Eve ry 4 ye a rs reg a rd less of mileage (kilom e-            AdBlue Fluid - RepLace only if AdBlue has not
             ters)                                                          been fiLLed within the Last 4 years (Audi Q7 3.01
                                                                            lOIonLy)

                                                                              - Service reminder indicator dispLay - Reset
                                                                                dispLay.
                 By reg u la rLy m a intai n ing you r veh ide, you           - Brake system - Check for damage and Leaks,
                 heLp make sure that emission standards                         thickness of pads, and brake fluid Level.
                 are maintained, thus minimizing adverse                      - Wiper bLades - Check condition and repLace
                 effects on the e nvi ron m e nt.                               if necessary.
                                                                              - WindshieLd washer and headLight washing
            Maintenance service                                                 system - Add fluid if necessary. Check ad-
            scheduLe                                                            justment and function.
                                                                              - Tires and spare wheeL - Check for wear and
             Standard Maintenance Service                                       damage. Check tire pressure. Reset Tire
            First at 5,000 miles (8,000 km) or 1 year                           Pressure Monitoring System (TPMS).
            after delivery, whichever occurs first.                           - AdBLue fluid - FiLL compLeteLy with fresh flu-
            Thereafter every 10,000 miles (15,000                               id (23 Liters) and adapt Learned vaLues for
            km) or one year, whichever occurs first.                            AdBLue tank under guided fauLt finding after
            - Engine oiL / OiL fiLter - Change oiL and re-                      fiLLing fluid (Audi Q7 3.0L TOI onLy).
              pLace fiLter.
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                                                                                              Maintenance         21

           Additional item at 5,000 miles (8,000               - Front lighting - Check function of parking
           km) or 1 year after delivery, whichever               lights, low beams, high beams, fog lights,
           occurs first.                                         blinkers & hazard lights.
           - Rotate tires. Reset TPMS.                         - Rear lighting - Check function of brake lights
                                                                 (including third brake light), taillights,
                                                                 back-up lights, rear fog lights, license plate
            Major Maintenance Service
                                                                 lights, blinkers & hazard lights.
           First at 15,000 miles (25,000 km) or two            - Door hinges and straps - Lubricate (Audi Q7,
           years, whichever occurs first. Thereafter             A3, n, ns, R8, and R8 Spyder only).
           every 20,000 miles (30,000 km) or two
                                                               - Hood lid hinges - Lubricate (R8, R8 Spyder,
           years, whichever occurs first.
                                                                 n, ns and n RS).
           - Battery - Check for clean terminals (no cor-      - Sliding roof - Clean guide rails and lubricate
             rosion), properly mounted housing and no            with grease.
             damage; replace if necessary. Also, check         - Tire repair set - Check renewal date (where
             the acid level of battery only if the level can     applicable).
             be seen through the housing and fill if nec-      - Road test - Check braking, kick-down, steer-
             essary (except Audi QS hybrid).                     ing, electrical, heating and ventilation sys-
           - Small (12 volt) side battery located in the         tems, air conditioning, (ASL) Automatic
             trunk compartment on left side - check for          Shift Lock, power accessories and reset driv-
             clean terminals (no corrosion), properly            er information display.
             mounted housing and no damage; replace if
             necessary (Audi QS hybrid only).
                                                               Additional Maintenance Items
           - Cooling system - Check coolant level and
             add coolant if necessary.                         Perform at 15,000 miles (25,000 km)
           - Engine compartment - Check for leaks.             and thereafter every 20,000 miles
           - Exhaust system - Check for damage and             (30,000 km).
             leaks.                                            - Fuel filter - Replace (Audi A3 2.0L TDI and
           - Underbody - Check for damage and leaks.             Audi Q7 3.0L TOI only).
           - Automatic transmission and final drive -
                                                               Perform first at 35,000 miles (55,000
             Check for leaks.
                                                               km) and thereafter every 40,000 miles
           - Manual transmission and final drive - Check       (60,000 km).
             for leaks.
           - Drive shafts - Check boots.                       - Continuously variable transmission (multi-
                                                                 tronic™) - Change ATF.
           - Front and rear axle - Check for excessive
                                                               - Tiptronic gear box - Change ATF (Audi QS hy-
             play. Check dust seals on ball joints and tie
                                                                 brid only).
             rod ends.
           - Horn - Check function.                            - DSG/S tronic - Change oil and replace trans-
                                                                 mission filter element (Audi A3, n, ns, 54,
           - Dust and pollen filter - Replace filter.
                                                                 and 55 only).
           - Snow screen for air cleaner - Clean (Audi A4,
                                                               - Air cleaner - Clean housing and replace filter
             54, AS, 55, QS, QS hybrid only).
                                                                 element (nS and n RS only).
           - Ribbed V-belt and tensioner - Check condi-
             tion and replace if necessary (Audi R8 and        Perform first at 35,000 miles (55,000
             R8 Spyder only).                                  km) or 4 years, whichever occurs first.
           - Plenum Panel- Remove cover for plenum             Thereafter every 40,000 miles (60,000
             panel to check water drain and clean if nec-      km) or 4 years, whichever occurs first.
             essary.                                           - Haldex clutch - Change oil (Audi A3, n, ns
                                                                 and n RS only).
                                                               - Power steering fluid - Check fluid level.
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       22   Maintenance

            - Brake discs - Check thickness.                             (rear most belt), 4.2L V8 FSI, and S.2L V10
            - Interior lights - Check all interior lights,               FSI engines only)
              glove box compartment illumination, con-                 - Ribbed V-belt - Replace only the V-belt for
              trollights, and MMI (if applicable).                       the compressor drive (front belt) (only S4
            - Doors - Lubricate door hinges, straps, locks,              and SS with the 3.0L V6 TFSI engine).
              and hood latch.
                                                                       Perform every 110,000 miles (175,000
            Perform first at 35,000 miles (55,000                      km).
            km) or 6 years, whichever occurs first.                    - Timing belt - Replace. Check condition of
            Thereafter, every 40,000 miles (60,000
                                                                         timing belt tensioning system, dampening
            km) or 6 years, whichever occurs first.
                                                                         pulleys, and idler pulleys and replace if nec-
            - Spark plugs - Replace (A4, AS, n, ns, A6,                  essary (Audi ns only).
              QS, and QS hybrid vehicles with 2.0L TFSI
              engine and the A8 W12 only).                             Perform after the first 125,000 miles
                                                                       (205,000 km) or 120,000 miles
            Perform first at 35,000 miles (55,000                      (195,000 km) after a Diesel Particulate
            km) or 6 years, whichever occurs first.                    Filter (DPF) replacement.
            Thereafter, every 30,000 miles (45,000
                                                                       - Diesel Particulate Filter (DPF) - Check ash
            km) or 6 years, whichever occurs first.
                                                                         loading according to manufacturer work
            - Spark plugs - Replace (Audi n RS only).                    procedure; replace 11 if necessary (Audi Q7
                                                                         3.0L TOI and A3 2.0L TOI only).
            Perform first at 55,000 miles (85,000
            km) and thereafter every 60,000 miles                      Perform every 130,000 miles (205,000
            (90,000 km).                                               km).
            - Air cleaner - Clean the housing and replace              - Timing belt - Replace. Check condition of
              the filter element (except ns and n RS).                   timing belt tensioning system, dampening
            - Ribbed V-belt - Replace only the V-belt for                pulleys, and idler pulleys and replace if nec-
              the compressor drive (front belt) (only Audi               essary (A3 2.0L TOI only)
              Q7, A6, and A7 with the 3.01 V6 TFSI en-
              gine).

            Perform at 55,000 miles (85,000 km) or
            6 years, whichever occurs first. Thereafter
            every 60,000 miles (90,000 km) or 6
            years whichever occurs first.
            - Spark plugs - Replace (except A4, AS, n,
              ns, A6, QS, and QS hybrid vehicles with
              2.0L TFSI engine and the A8 W12 only).

            Perform at 75,000 miles (115,000 km)
            and thereafter every 80,000 miles
            (120,000 km).
            - Ribbed V-belt - Check condition and replace
              if necessary. Check tension of belt drive with
              a manual tensioner and retension if neces-
              sary (n RS, 2.01 TFSI, V6 FSI, 3.0L V6 TFSI



            1)   If DPF replacement is not necessary, perform check
                 every 20,000 miles (30,000 kml thereafter until re-
                 placement becomes necessary.
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                                                                                        Maintenance           23


           Record of Maintenance Services

           The Authorized Audi Dealer stamp in the boxes below is your record of each maintenance
           service performed.

           5,000 miles (8,000 km)        15,000 miles (25,000 km)       25,000 miles (40,000 km)
           maintenance service per-      maintenance service per-       maintenance service per-
           formed by:                    formed by:                     formed by:
            Authorized Audi Dealer Stamp: Authorized Audi Dealer Stamp: Authorized Audi Dealer Stamp:




            Date:                         Date:                         Date:


            Miles (kilometers):           Miles (kilometers):           Miles (kilometers):


           35,000 miles (55,000 km)      45,000 miles (70,000 km)       55,000 miles (85,000 km)
           maintenance service per-      maintenance service per-       maintenance service per-
           formed by:                    formed by:                     formed by:
            Authorized Audi Dealer Stamp: Authorized Audi Dealer Stamp: Authorized Audi Dealer Stamp:




            Date:                         Date:                         Date:


            Miles (kilometers):           Miles (kilometers):           Miles (kilometers):


           65,000 miles (100,000 km)     75,000 miles (115,000 km)      85,000 miles (130,000 km)
           maintenance service per-      maintenance service per-       maintenance service per-
           formed by:                    formed by:                     formed by:
            Authorized Audi Dealer Stamp: Authorized Audi Dealer Stamp: Authorized Audi Dealer Stamp:




            Date:                         Date:                         Date:


            Miles (kilometers):           Miles (kilometers):           Miles (kilometers):             II>
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       24   Maintenance


            95,000 miles (145,000 km)    105,000 miles (160,000 km) 110,000 miles (Audi TT5 on-
            maintenance service per-     maintenance service per-   ly) maintenance service per-
            formed by:                   formed by:                 formed by:
            Authorized Audi Dealer Stamp: Authorized Audi Dealer Stamp: Authorized Audi Dealer Stamp:




            Date:                         Date:                         Date:


            Miles (kilometers):           Miles (kilometers):           Miles (kilometers):


            115,000 miles (175,000 km) 125,000 miles (190,000 km) 130,000 miles (2.01 TDI only)
            maintenance service per-   maintenance service per-   maintenance service per-
            formed by:                 formed by:                 formed by:
            Authorized Audi Dealer Stamp: Authorized Audi Dealer Stamp: Authorized Audi Dealer Stamp:




            Date:                         Date:                         Date:


            Miles (kilometers):           Miles (kilometers):           Miles (kilometers):


            135,000 miles (205,000 km) 145,000 miles (220,000 km) 155,000 miles (235,000 km)
            maintenance service per-   maintenance service per-   maintenance service per-
            formed by:                 formed by:                 formed by:
            Authorized Audi Dealer Stamp: Authorized Audi Dealer Stamp: Authorized Audi Dealer Stamp:




            Date:                         Date:                         Date:


            Miles (kilometers):           Miles (kilometers):           Miles (kilometers):
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                                                                                               Maintenance      25


           ~irbag Replacement                                ~irbag Replacement

           The airbag system can be deployed only once.      The airbag system can be deployed only once.

           After an airbag has inflated it must be re-       After an airbag has inflated it must be re-
           placed. The proper replacement of airbags         placed. The proper replacement of airbags
           will be entered into the record by your author-   will be entered into the record by your author-
           ized Audi Service Advisor.                        ized Audi Service Advisor.

            Fro nt ~i rbag                                    Fro nt ~i rbag
                      left                   right                      left                   right
            0                        0                        0                        0
            Side ~irbag                                       Side ~irbag
            left                     right                    left                     right
                     front                   front                     front                   front
            0                        0                        0                        0
                      rear                   rear                       rear                   rear
            0                        0                        0                        0
            SIDEGU~RD                                         SIDEGU~RD

                      left                   right                      left                   right
            0                        0                        0                        0
            Knee ~irbag (where applicable)                    Knee ~irbag (where applicable)
                      left                   right                      left                   right
            0                        0                        0                        0




                   Authorized Audi Dealer Stamp                      Authorized Audi Dealer Stamp


                Module replaced:                                  Module replaced:


                             Date:                                             Date:


              Next replacement:                                 Next replacement:


                             Date:                                             Date:
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       26   Maintenance


            Speedometer replacement                         De IillerY Inspectio n
            For speedometer replacement on your vehicle,                 Delivery Inspection
            ask your authorized Audi Service advisor.

            Federal Law requires that a label be affixed     Before your vehicle is delivered to you, it is
            to the left door frame when the replacement      inspected according to factory guidelines.
            odometer does not indicate the actual vehi-
            cle mileage after repairor replacement. Audi
                                                             The Delivery Inspection was performed on
            Genuine replacement speedometers are sup-
            plied with the label

                     Speedometer replacement
                                                                Month             Day             Year



                Month             Day            Year
              (to be filled in by authorized Audi Dealer)




                           At mileage / km



                                                                   Authorized Audi Dealer Stamp




                   Authorized Audi Dealer Stamp
